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                                                                                                        E-FILED
                                                                      Tuesday, 21 November, 2017 02:39:59 PM
                                                                                  Clerk, U.S. District Court, ILCD
lv
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS


JASMINE MURILLO, individually and as Plenary Guardian of the                   )
Estate and Person of MARIO RAMIREZ, disabled,                                  )
                                                                               )
                                Plaintiff,                                     )
-vs-                                                           )No.l7 CV 3181
                                                               )
WEXFORD HEALTH SOURCES, INC., a corporation;                   ) Judge Michael M. Mihm
THE BANTRY GROUP CORPORATION, a corporation, individually, and )
d/b/a WEXFORD HEALTH SOURCES, INC.; and                        )
DR. FRANCIS KA YIRA,                                           )
                      Defendants.                              )

                                                     PLAINTIFF DEMANDS TRIAL BY JURY

                                FIRST AMENDED COMPLAINT AT LAW

       NOW COMES the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of

the Estate and Person ofMARIO RAMIREZ, disabled, by her attomeys, GOLDSTEIN, FLUXGOLD

& BARON, P .C., and having duly obtained leave of Court, for her First Amended Complaint at Law,

complaining of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; THE

BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH

SOURCES, INC.; and DR. FRANCIS KAYIRA, and each ofthem, states as follows:

                                                 PARTIES

       That on or about May 23, 2015, and for some time prior and subsequent thereto, the disabled

Plaintiff, MARIO RAMIREZ, was imprisoned at the Graham Correctional Center in the City of

Hillsboro, State of Illinois.    That prior to his imprisonment, the disabled Plaintiff, MARIO

RAMIREZ, was a resident of the United States of America in the City of Chicago, County of Cook

and State oflllinois. The disabled Plaintiff has been released on parole and currently resides in the

City of Chicago, County of Cook and State of Illinois. That the Plaintiff, JASMINE MURILLO, was
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at all times relevant herein, a citizen of the United States and of the State of Illinois and is a resident

of the City of Chicago, County of Cook and State of Illinois. The Plaintiff, JASMINE MURILLO,

was appointed by Probate Court of Cook County Judge Kathleen M. McGury as the Plenary

Guardian of the Estate and Person of Mario Ramirez, disabled, on March 24, 2017. (See attached

March 24, 2017 Order, attached hereto as Plaintiff’s Exhibit “A”).

        Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY

GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES,

INC., are a corporation and a parent corporation, respectively, that operate, manage, control and/or

provide medical services, treatment and facilities at the correctional facilities and/or prisons of the

Illinois Department of Corrections, including Graham Correctional Center. These correctional

facilities and/or prisons are located throughout the State of Illinois, including the Central District of

Illinois. DR. FRANCIS KAYIRA is a physician who provided medical treatment and care to the

disabled Plaintiff, MARIO RAMIREZ, at the Graham Correctional Center. DR. FRANCIS

KAYIRA is sued individually and as agent, apparent agent, employee and/or physician of

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.

                                       JURISDICTION and VENUE

        That this is an action against the Defendants, WEXFORD HEALTH SOURCES, INC., a

corporation; THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a

WEXFORD HEALTH SOURCES, INC.; and DR. FRANCIS KAYIRA, to redress deprivations

under color of law of the rights, privileges and immunities secured by the Eighth Amendment to the

United States Constitution and Title 42, U.S.C., Section 1983, and, pleading in the alternative, for

negligent and/or willful and wanton medical care and treatment under State of Illinois law.



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        That the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE

BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH

SOURCES, INC., operate, manage, control and/or provide sufficient contacts in the Central District

of Illinois to establish venue, including but not limited to medical services, treatment and facilities at

the correctional facilities and/or prisons of the Illinois Department of Corrections, including Graham

Correctional Center in the City of Hillsboro, State of Illinois. 28 U.S.C. §1391(c)(d).

                                           CAUSES OF ACTION
                                           COUNT I
         Federal §1983 Civil Rights Claim against Defendants, WEXFORD HEALTH
    SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a
      corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.

        1.      That this is a civil action for damages to redress deprivations under color of law of the

rights, privileges and immunities secured by the Eighth Amendment to the United States

Constitution and Title 42, U.S.C., Section 1983.

        2.      That during the month of May 2015, and at all times prior and subsequent thereto, the

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

were engaged in offering medical care and attention, facilities and supplies to inmates, including the

disabled Plaintiff herein, at the Graham Correctional Center, in the City of Hillsboro and State of

Illinois, and engaged on its staff various physicians and medical personnel.

        3.      That at all times relevant herein, the Defendants, WEXFORD HEALTH SOURCES,

INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and

d/b/a WEXFORD HEALTH SOURCES, INC., held itself out, pretended and otherwise informed

Graham Correctional Center’s inmates, and more particularly, in the instance of the disabled

Plaintiff, MARIO RAMIREZ, that Defendants, WEXFORD HEALTH SOURCES, INC., a


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corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a

WEXFORD HEALTH SOURCES, INC., had and possessed the requisite skill, know-how, facilities,

personnel, equipment and information to properly care for and treat the disabled Plaintiff, MARIO

RAMIREZ.

       4.      That in May 2015, and for some time prior and subsequent thereto, the disabled

Plaintiff, MARIO RAMIREZ, was imprisoned at the Graham Correctional Center and was placed

under the custody, ward, care and supervision of the Graham Correctional Center prison and

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

and its physicians, staff, supervisors, employees, agents and apparent agents, including but not

limited to, DR. FRANCIS KAYIRA, as aforesaid; that the disabled Plaintiff possessed no medical or

professional medical knowledge, nor did he have the facilities to care for, mend or cure himself.

       5.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was an

inmate and dependent upon and under the control of Graham Correctional Center prison and

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

and its physicians, staff, supervisors, employees, agents and apparent agents, including but not

limited to, DR. FRANCIS KAYIRA; and that the disabled Plaintiff, as a prisoner, was deprived of

his normal opportunities for protection, treatment and care.

       6.      That at all times mentioned herein, the Defendant, DR. FRANCIS KAYIRA, was a

physician duly licensed under the laws of the State of Illinois and an employee, physician, agent

and/or apparent agent, of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation;

and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD



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HEALTH SOURCES, INC., and as such practiced his profession in the medical facilities of the

Graham Correctional Center pursuant to his employment.

       7.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ,

cooperated fully with the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and

THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., and its duly authorized agents, apparent agents, physicians, servants,

and/or employees, including but not limited to, DR. FRANCIS KAYIRA.

       8.      That at all times material herein, and for some time prior to, the disabled Plaintiff,

MARIO RAMIREZ, was experiencing symptoms and/or signs of hypovolemia, including but not

limited to: dehydration, diarrhea, vomiting, hyponatremia and tachycardia, during his incarceration at

Graham Correctional Center.

       9.      That Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE

BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH

SOURCES, INC., offered and provided said medical care and services at Illinois Department of

Corrections correctional facilities and/or prisons pursuant to a five year contract (with an option to

renew for another five years) with the Illinois Department of Corrections entered into in May 2011.

       10.     That said contract was in effect during the Month of May 2015, and at all times

relevant herein.

       11.     Said 2011 contract includes certain fixed rate compensation and payment schedules

which include monthly allowances, including but not limited to a “Hospital Utilization Threshold” in

which monthly payments to Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and

THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., from Illinois Department of Corrections/Graham Correctional Center



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are reduced by the amounts that outside hospital costs exceed the monthly allowance.

         12.       In addition, as to the Graham Correctional Center, the fixed payment portion of the

contract provides compensation to Defendants, WEXFORD HEALTH SOURCES, INC., a

corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a

WEXFORD HEALTH SOURCES, INC., for three hundred and fourteen (314) different prisoners a

month within Graham Correctional Center receiving treatment by Defendants, WEXFORD

HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a

corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.

         13.       If the number of monthly prisoners receiving treatment by Defendants, WEXFORD

HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a

corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC., at Graham

Correctional Center exceeds the base rate (314), Defendants, WEXFORD HEALTH SOURCES,

INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and

d/b/a WEXFORD HEALTH SOURCES, INC., are compensated an additional $0.01 per offender per

month.

         14.       Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE

BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH

SOURCES, INC., do not receive additional compensation for prisoners requiring additional or

multiple visits.

         15.       The Contract budget only allows and/or permits compensation for one physician

(medical director) at Graham Correctional Center and the budget only compensates a physician for

40 hours per week.

         16.       That the aforementioned fixed compensations, payments, budgets, adjustments and



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“Hospital Utilization Threshold” also apply to the entire State of Illinois’ prison and correctional

facilities.

        17.     As part of a 2015 class action lawsuit, which Defendants, WEXFORD HEALTH

SOURCES, INC., a corporation; and/or THE BANTRY GROUP CORPORATION, a corporation,

individually, and d/b/a WEXFORD HEALTH SOURCES, INC., were named defendants, a Court-

appointed panel of experts released a four hundred five (405) page report finding that state of

medical care in Illinois Department of Corrections’ prisons and correctional facilities was so poor

that it constituted cruel and unusual punishment.

        18.     That the care, customs, policies and practices of Defendants, WEXFORD HEALTH

SOURCES, INC., a corporation; and/or THE BANTRY GROUP CORPORATION, a corporation,

individually, and d/b/a WEXFORD HEALTH SOURCES, INC., have resulted in over 1,300 lawsuits

in the past ten years, including at least forty-five (45) cases currently pending in the Central District

of Illinois where the Defendants are named defendants.

        19.     That it then and there became and was the duty of the Defendants, WEXFORD

HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a

corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC., to institute, allow

and/or maintain customs, policies and/or practices that render medical services consistent with the

constitutional necessities of the prisoners therein, so as not to cause injury to said patients and

prisoners, including the disabled Plaintiff; and to institute, allow and/or maintain customs, policies

and/or practices that do not cause or display an utter indifference to the health, well-being and

constitutional rights of said patients and prisoners, including the disabled Plaintiff.

        20.     That at all times material herein, notwithstanding their aforesaid duties, while the

disabled Plaintiff, MARIO RAMIREZ, was incarcerated at Graham Correctional Center, the



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Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC., by

reason of the aforementioned contract, fixed compensations, budgets, payments, adjustments, per

prisoner additional compensation, “Hospital Utilization Threshold” and/or prior and pending

lawsuits, instituted, allowed and/or maintained the following widespread practices, customs and/or

policies:

       (a)     Defendants regularly and systematically compromised care to increase profit; or

       (b)     Defendants regularly and systematically provided minimum and/or utterly indifferent

               care to increase profit; or

       (c)     Defendants regularly and systematically maximized new patient intake to increase

               profit; or

       (d)     Defendants regularly and systematically prioritized new patient intake over existing

               patient follow-up or extended care to increase profit; or

       (e)     Defendants failed to train employees; or

       (f)     Defendants failed to properly and sufficiently staff Graham Correctional Center

               medical facilities; or

       (g)     Defendants regularly and systematically permitted and allowed patients to be

               regularly seen and/or treated by non-physician personnel and/or without proper and

               adequate physician supervision.

       21.     That as a direct and proximate result of one or more of the aforementioned customs,

policies and/or practices of the Defendants, the Defendants, WEXFORD HEALTH SOURCES,

INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and

d/b/a WEXFORD HEALTH SOURCES, INC., encouraged, permitted, caused and allowed: an utter



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and/or deliberate indifference towards the health, well-being and constitutional necessities of the

disabled Plaintiff, MARIO RAMIREZ; an inexplicable delay and/or lack of treatment for the

disabled Plaintiff which served no penological interest; a failure to timely and/or properly and

adequately diagnose, treat and/or provide medical treatment for the disabled Plaintiff’s medical

condition, including but not limited to hypovolemia due to dehydration, while he was incarcerated at

Graham Correctional Center; to wit, on and after May 23, 2015:

       (a)     The Defendants knew the disabled Plaintiff was experiencing symptoms and/or signs
               of hypovolemia, including but not limited to: dehydration, diarrhea, vomiting,
               hyponatremia and/or tachycardia, for at least one (1) week prior to the first May 23,
               2015 medical encounter;

       (b)      The disabled Plaintiff continued to experienced symptoms and/or signs of
                hypovolemia, including but not limited to: dehydration, diarrhea, vomiting,
                hyponatremia and/or tachycardia, through June 4, 2015;

       (c)     The Defendants knew the disabled Plaintiff was experiencing continued symptoms
               and/or signs of hypovolemia, including but not limited to: dehydration, diarrhea,
               vomiting, hyponatremia and/or tachycardia, through June 4, 2015, including but not
               limited to documenting these symptoms at his medical encounters on or about May
               23, 2015, May 29, 2015, and June 1, 2015, as well as daily through his June 1, 2015
               to June 4, 2015 admission to the Defendant’s infirmary at Graham Correctional
               Center;

       (d)      The disabled Plaintiff was not seen or treated by a physician on or about May 23,
                2015 and May 29, 2015, even though Defendants knew the disabled Plaintiff was
                experiencing continued symptoms and/or signs of hypovolemia, including but not
                limited to: dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia.

       (e)      The Defendants knew or should have known said continuing symptoms and/or signs
                of hypovolemia posed serious and/or substantial risks to the health and well-being of
                the disabled Plaintiff if not properly treated or if left untreated or undiagnosed,
                including but not limited to: necrosis, sepsis, brain injury, and/or death;

       (f)      Despite the Defendants’ aforesaid knowledge of said symptoms and serious and
                substantial risks to the disabled Plaintiff, the Defendants, in following or practicing
                one or more of the aforementioned widespread practices, customs and/or policies:

              i.       Failed to properly and adequately monitor the disabled Plaintiff’s medical
                       condition in utter and/or deliberate indifference of said risks; or



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              ii.      Failed to properly and adequately alleviate, treat and/or control the disabled
                       Plaintiff’s medical condition and symptoms in utter and/or deliberate
                       indifference of said risks; or

             iii.      Improperly and inadequately treated and/or attended to the disabled Plaintiff’s
                       medical condition and symptoms in utter and/or deliberate indifference of
                       said risks; or

             iv.       Failed to properly and adequately and/or timely diagnose disabled Plaintiff’s
                       hypovolemia due to dehydration in utter and/or deliberate indifference of said
                       risks; or

              v.       Discontinued the disabled Plaintiff’s IV fluid administration in spite of
                       continued and/or unresolved symptoms and/or signs of hypovolemia in utter
                       and/or deliberate indifference of said risks.

       22.      That as a direct and proximate result of one or more of the aforementioned customs,

policies and/or practices of the Defendants that encouraged, permitted, caused and allowed the

aforementioned deliberately indifferent actions of the Defendants, WEXFORD HEALTH

SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation,

individually, and d/b/a WEXFORD HEALTH SOURCES, INC., the disabled Plaintiff, MARIO

RAMIREZ, was deprived and/or discontinued from necessary medical treatment in violation of his

Eighth Amendment Rights and was thereby injured, including but not limited to: sepsis and necrosis

leading to anoxic brain injury and disabled Plaintiff, MARIO RAMIREZ, being in a persistent

vegetative state.

       23.      That as a direct and proximate result of one or more of the aforementioned customs,

policies and/or practices of the Defendants that encouraged, permitted, caused and allowed the

aforementioned deliberately indifferent actions of the Defendants, WEXFORD HEALTH

SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation,

individually, and d/b/a WEXFORD HEALTH SOURCES, INC., the disabled Plaintiff, MARIO

RAMIREZ, was then and there injured both internally and externally; that he suffered and continues



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to suffer from severe and permanent injuries, including but not limited to: permanent brain injury;

that he sustained a severe shock and damage to his nervous system and other systems of his body;

that he suffered and continues to suffer from loss of a normal life; that he suffered and continues to

suffer from acute and prolonged physical and mental pain and suffering; that the risk or harm of

injury, including but not limited to permanent brain damage, was increased; that his medical

condition worsened and his chance of recovery was diminished; that the disabled Plaintiff will suffer

from wage loss and became liable for great sums of money for medical, hospital care and treatment,

and attendant care, as well as incurring other expenses; and that the Plenary Guardian of the

disabled's Estate and Person, JASMINE MURILLO, became liable for great sums of money for

medical, hospital care and treatment, and attendant care, as well as incurring other expenses,

including wage loss.

       24.      That the Plaintiff is entitled to her costs and reasonable attorney’s fees incurred herein

pursuant to 42 United States Code, Section 1988.

       WHEREFORE, the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of

the Estate and Person of MARIO RAMIREZ, disabled, prays judgment against Defendants,

WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

for said sum for medical, drug, and incidental expenses and for general damages according to proof,

Section 1988 costs and attorney’s fees, and for such other and further relief as this court deems just

and proper.

                                              COUNT II
             Federal §1983 Civil Rights Claim against Defendant, DR. FRANCIS KAYIRA

       1.       That this is a civil action for damages to redress deprivations under color of law of the

rights, privileges and immunities secured by the Eighth Amendment to the United States


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Constitution and Title 42, U.S.C., Section 1983.

        2.      That at all times mentioned herein, the Defendant, DR. FRANCIS KAYIRA, was a

physician duly licensed under the laws of the State of Illinois, and as such practiced his profession in

the medical facilities of the Graham Correctional Center.

        3.      That in May 2015, and for some time prior and subsequent thereto, the disabled

Plaintiff, MARIO RAMIREZ, was imprisoned at the Graham Correctional Center and was placed

under the custody, ward, care and supervision of the Graham Correctional Center prison and

Defendant, DR. FRANCIS KAYIRA, as aforesaid; that the disabled Plaintiff possessed no medical

or professional medical knowledge, nor did he have the facilities to care for, mend or cure himself.

        4.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was an

inmate and dependent upon and under the control of Graham Correctional Center prison and

Defendant, DR. FRANCIS KAYIRA, and that the disabled Plaintiff, as a prisoner, was deprived of

his normal opportunities for protection, treatment and care.

        5.      That in May 2015, and for some time prior and subsequent thereto, Defendant, DR.

FRANCIS KAYIRA, did then and there have come under his care and did attend to and treat the

disabled Plaintiff, MARIO RAMIREZ, while the disabled Plaintiff was a prisoner at Graham

Correctional Center.

        6.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ,

cooperated fully with the Defendant, DR. FRANCIS KAYIRA.

        7.      That it then and there became and was the duty of the Defendant, DR. FRANCIS

KAYIRA, to render medical services consistent with the constitutional necessities of the prisoners

therein, so as not to cause injury to said patients and prisoners, including the disabled Plaintiff, and

to not display an utter indifference to the health, well-being and constitutional rights of said patients



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and prisoners, including the disabled Plaintiff.

       8.      That at all times material herein, and for some time prior to, the disabled Plaintiff,

MARIO RAMIREZ, was experiencing symptoms and/or signs of hypovolemia, including but not

limited to: dehydration, diarrhea, vomiting, hyponatremia and tachycardia, during his incarceration at

Graham Correctional Center.

       9.      That at all times material herein, notwithstanding its aforesaid duties, while the

disabled Plaintiff, MARIO RAMIREZ, was incarcerated at Graham Correctional Center, the

Defendant, DR. FRANCIS KAYIRA, with an utter and/or deliberate indifference towards the health

and well-being of the disabled Plaintiff, MARIO RAMIREZ, and in an inexplicable delay and/or

lack of treatment for the disabled Plaintiff which served no penological interest, failed to timely

and/or properly and adequately diagnose, treat and/or provide medical treatment for the disabled

Plaintiff’s medical condition, including but not limited to hypovolemia due to dehydration, while he

was incarcerated at Graham Correctional Center; to wit, on and after May 23, 2015:

       (a)     The Defendant knew the disabled Plaintiff was experiencing symptoms and/or signs
               of hypovolemia, including but not limited to: dehydration, diarrhea, vomiting,
               hyponatremia and/or tachycardia, for at least one (1) week prior to the first May 23,
               2015 medical encounter;

       (b)     The disabled Plaintiff continued to experienced symptoms and/or signs of
               hypovolemia, including but not limited to: dehydration, diarrhea, vomiting,
               hyponatremia and/or tachycardia, through June 4, 2015;

       (c)     The Defendant knew the disabled Plaintiff was experiencing continued symptoms
               and/or signs of hypovolemia, including but not limited to: dehydration, diarrhea,
               vomiting, hyponatremia and/or tachycardia, through June 4, 2015, including but not
               limited to documenting these symptoms at his medical encounters on or about May
               23, 2015, May 29, 2015, and June 1, 2015, as well as daily through his June 1, 2015
               to June 4, 2015 admission to the Defendant’s infirmary at Graham Correctional
               Center;

       (d)     The Defendant knew or should have known said continuing symptoms and/or signs
               of hypovolemia posed serious and/or substantial risks to the health and well-being of
               the disabled Plaintiff if not properly treated or if left untreated or undiagnosed,


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                 including but not limited to: necrosis, sepsis, brain injury, and/or death;

       (e)       Despite the Defendant’s aforesaid knowledge of said symptoms and serious and
                 substantial risks to the disabled Plaintiff, the Defendant:

               i.       Failed to properly and adequately monitor the disabled Plaintiff’s medical
                        condition in utter and/or deliberate indifference of said risks; or

              ii.       Failed to properly and adequately alleviate, treat and/or control the disabled
                        Plaintiff’s medical condition and symptoms in utter and/or deliberate
                        indifference of said risks; or

             iii.       Improperly and inadequately treated and/or attended to the disabled Plaintiff’s
                        medical condition and symptoms in utter and/or deliberate indifference of
                        said risks; or

             iv.        Failed to properly and adequately and/or timely diagnose disabled Plaintiff’s
                        hypovolemia due to dehydration in utter and/or deliberate indifference of said
                        risks; or

              v.        Discontinued the disabled Plaintiff’s IV fluid administration in spite of
                        continued and/or unresolved symptoms and/or signs of hypovolemia in utter
                        and/or deliberate indifference of said risks.

       10.      That as a direct and proximate result of the deliberately indifferent actions of the

Defendant, DR. FRANCIS KAYIRA, the disabled Plaintiff, MARIO RAMIREZ, was deprived

and/or discontinued from necessary medical treatment in violation of his Eighth Amendment Rights

and was thereby injured, including but not limited to: sepsis and necrosis leading to anoxic brain

injury and disabled Plaintiff, MARIO RAMIREZ, being in a persistent vegetative state.

       11.      That as a direct and proximate result of the deliberately indifferent actions of the

Defendant, DR. FRANCIS KAYIRA, the disabled Plaintiff, MARIO RAMIREZ, was then and there

injured both internally and externally; that he suffered and continues to suffer from severe and

permanent injuries, including but not limited to: permanent brain injury; that he sustained a severe

shock and damage to his nervous system and other systems of his body; that he suffered and

continues to suffer from loss of a normal life; that he suffered and continues to suffer from acute and



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prolonged physical and mental pain and suffering; that the risk or harm of injury, including but not

limited to permanent brain damage, was increased; that his medical condition worsened and his

chance of recovery was diminished; that the disabled Plaintiff will suffer from wage loss and became

liable for great sums of money for medical, hospital care and treatment, and attendant care, as well as

incurring other expenses; and that the Plenary Guardian of the disabled's Estate and Person,

JASMINE MURILLO, became liable for great sums of money for medical, hospital care and

treatment, and attendant care, as well as incurring other expenses, including wage loss.

       12.     That the Plaintiff is entitled to her costs and reasonable attorney’s fees incurred herein

pursuant to 42 United States Code, Section 1988.

       WHEREFORE, the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of

the Estate and Person of MARIO RAMIREZ, disabled, prays judgment against Defendant, DR.

FRANCIS KAYIRA, for said sum for medical, drug, and incidental expenses and for general

damages according to proof, Section 1988 costs and attorney’s fees, and for such other and further

relief as this court deems just and proper.

                                    COUNT III
    Negligence Claim against Defendants, WEXFORD HEALTH SOURCES, INC., a
 corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually,
                   and d/b/a WEXFORD HEALTH SOURCES, INC.

       1.      That during the month of May 2015, and at all times prior and subsequent thereto, the

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

was engaged in offering medical care and attention, facilities and supplies to inmates, including the

disabled Plaintiff herein, at the Graham Correctional Center, in the City of Hillsboro and State of

Illinois, and engaged on its staff various physicians and medical personnel.

       2.      That at all times relevant herein, the Defendants, WEXFORD HEALTH SOURCES,


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INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and

d/b/a WEXFORD HEALTH SOURCES, INC., held itself out, pretended and otherwise informed

Graham Correctional Center’s inmates, and more particularly, in the instance of the disabled

Plaintiff, MARIO RAMIREZ, that Defendants, WEXFORD HEALTH SOURCES, INC., a

corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a

WEXFORD HEALTH SOURCES, INC., had and possessed the requisite skill, know-how, facilities,

personnel, equipment and information to properly care for and treat the disabled Plaintiff, MARIO

RAMIREZ.

       3.      That in May 2015, and for some time prior and subsequent thereto, the disabled

Plaintiff, MARIO RAMIREZ, was imprisoned at the Graham Correctional Center and was placed

under the custody, ward, care and supervision of the Graham Correctional Center prison and

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

and its physicians, staff, supervisors, employees, agents and apparent agents, including but not

limited to, DR. FRANCIS KAYIRA, as aforesaid; that the disabled Plaintiff possessed no medical or

professional medical knowledge, nor did he have the facilities to care for, mend or cure himself.

       4.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was an

inmate and dependent upon and under the control of Graham Correctional Center prison and

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

and its physicians, staff, supervisors, employees, agents and apparent agents, including but not

limited to, DR. FRANCIS KAYIRA.

       5.      That at all times mentioned herein, the Defendant, DR. FRANCIS KAYIRA, was a



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physician duly licensed under the laws of the State of Illinois and an employee, physician, agent

and/or apparent agent, of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation;

and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., and as such practiced his profession in the medical facilities of the

Graham Correctional Center pursuant to his employment.

          6.   That in May 2015, and for some time prior and subsequent thereto, DR. FRANCIS

KAYIRA, as agent, apparent agent, physician, servant, and/or employee, of the Defendants,

WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC. ,

in his professional capacity as aforesaid, while acting in the scope of his employment and/or agency

as aforesaid, did then and there have come under their care and did attend to and treat the disabled

Plaintiff, MARIO RAMIREZ, while the disabled Plaintiff was a prisoner at Graham Correctional

Center.

          7.   That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ,

cooperated fully with the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and

THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., and its physicians, staff, supervisors, employees, agents and apparent

agents, including but not limited to, DR. FRANCIS KAYIRA.

          8.   That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was in

the exercise of ordinary care and caution for his own safety.

          9.   That it then and there became and was the duty of the Defendants, WEXFORD

HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a

corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC., by and through its duly



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authorized agents, apparent agents, physicians, servants, and/or employees, including but not limited

to, Defendant, DR. FRANCIS KAYIRA, to render medical care, services and attention consistent

with the medical requirements of the patients and/or prisoners therein, so as not to cause injury to

said prisoners therein who are under their control and dependent upon for care and treatment,

including the disabled Plaintiff.

       10.     That there was a duty on the part of the Defendants, WEXFORD HEALTH

SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation,

individually, and d/b/a WEXFORD HEALTH SOURCES, INC., individually and by and through its

duly authorized agents, apparent agents, servants, employees, medical personnel and physicians,

including but not limited to: Defendant, DR. FRANCIS KAYIRA, to treat the disabled Plaintiff,

MARIO RAMIREZ, with that degree of knowledge, skill, and care possessed by a reasonably well-

qualified physician in their community or a similar community, and to exercise that degree of

knowledge, skill, and care commonly exercised by other members of their profession.

       11.     That notwithstanding its aforesaid duties, the Defendants, WEXFORD HEALTH

SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation,

individually, and d/b/a WEXFORD HEALTH SOURCES, INC., by and through its duly authorized

agents, apparent agents, physicians, servants, and/or employees, including but not limited to,

Defendant, DR. FRANCIS KAYIRA, was then and there guilty of one or more of the following

wrongful acts and/or omissions:

       (a)     Failed to provide for proper and adequate medical care and treatment of persons in
               their custody, including the disabled Plaintiff, MARIO RAMIREZ, pursuant to 730
               ILCS 3/3-7-2(d); or

       (b)     Failed to exercise reasonable care in protecting inmates’, namely the disabled
               Plaintiff’s, health and safety; or

       (c)     Failed to provide proper and adequate medical care and attention to the disabled


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               Plaintiff; or

       (d)     Failed to timely provide proper and adequate medical care and attention to the
               disabled Plaintiff; or

       (e)     Failed to intervene on behalf of the disabled Plaintiff to see that proper and adequate
               medical care and attention was being given for the disabled Plaintiff’s medical
               condition and symptoms on and after May 23, 2015, including but not limited to:
               dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (f)     Failed to properly and adequately monitor the disabled Plaintiff’s medical condition
               and symptoms on and after May 23, 2015, including but not limited to: dehydration,
               diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (g)     Failed to properly and adequately alleviate, treat and/or control the disabled
               Plaintiff’s medical condition and symptoms on and after May 23, 2015, including but
               not limited to: dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (h)     Improperly and inadequately treated and/or attended to the disabled Plaintiff’s
               medical condition and symptoms on and after May 23, 2015, including but not
               limited to: dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (i)     Failed to diagnose and/or recognize Mr. Ramirez’s hypovolemia due to dehydration
               on and after May 23, 2015; or

       (j)     Failed to timely diagnose and/or recognize Mr. Ramirez’s hypovolemia due to
               dehydration on and after May 23, 2015; or

       (k)     Improperly and unskillfully treated the disabled Plaintiff in a manner that necessitated
               further treatment, hospitalizations, and surgeries.

       12.     That as a direct and proximate result of one or more of the foregoing wrongful acts

and omissions of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE

BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH

SOURCES, INC., by and through its duly authorized agents, apparent agents, physicians, servants,

and/or employees, including but not limited to, Defendant, DR. FRANCIS KAYIRA, the disabled

Plaintiff, MARIO RAMIREZ, was thereby injured, including but not limited to: sepsis and necrosis

leading to anoxic brain injury and disabled Plaintiff, MARIO RAMIREZ, being in a persistent

vegetative state.


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       13.     That as a direct and proximate result of one or more of the foregoing wrongful acts

and omissions of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE

BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH

SOURCES, INC., by and through its duly authorized agents, apparent agents, physicians, servants,

and/or employees, including but not limited to, Defendant, DR. FRANCIS KAYIRA, the disabled

Plaintiff, MARIO RAMIREZ, was then and there injured both internally and externally; that he

suffered and continues to suffer from severe and permanent injuries, including but not limited to:

permanent brain injury; that he sustained a severe shock and damage to his nervous system and other

systems of his body; that he suffered and continues to suffer from loss of a normal life; that he

suffered and continues to suffer from acute and prolonged physical and mental pain and suffering;

that the risk or harm of injury, including but not limited to permanent brain damage, was increased;

that his medical condition worsened and his chance of recovery was diminished; that the disabled

Plaintiff will suffer from wage loss and became liable for great sums of money for medical, hospital

care and treatment, and attendant care, as well as incurring other expenses; and that the Plenary

Guardian of the disabled's Estate and Person, JASMINE MURILLO, became liable for great sums of

money for medical, hospital care and treatment, and attendant care, as well as incurring other

expenses, including wage loss.

       14.     That the Plaintiff’s damages are in excess of SEVENTY-FIVE THOUSAND

DOLLARS ($75,000.00).

       WHEREFORE, the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of

the Estate and Person of MARIO RAMIREZ, disabled, prays judgment against the Defendants,

WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,



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for said sum for medical, drug, and incidental expenses and for general damages according to proof,

and for such other and further relief as this court deems just and proper.

                                        COUNT IV
                Negligence Claim against Defendant, DR. FRANCIS KAYIRA

       1.      That at all times mentioned herein, the Defendant, DR. FRANCIS KAYIRA, was a

physician duly licensed under the laws of the State of Illinois, and as such practiced his profession in

the medical facilities of the Graham Correctional Center.

       2.      That in May 2015, and for some time prior and subsequent thereto, the disabled

Plaintiff, MARIO RAMIREZ, was imprisoned at the Graham Correctional Center and was placed

under the custody, ward, care and supervision of the Graham Correctional Center prison and

Defendant, DR. FRANCIS KAYIRA, as aforesaid; that the disabled Plaintiff possessed no medical

or professional medical knowledge, nor did he have the facilities to care for, mend or cure himself.

       3.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was an

inmate and dependent upon and under the control of Graham Correctional Center prison and

Defendant, DR. FRANCIS KAYIRA.

       4.      That in May 2015, and for some time prior and subsequent thereto, Defendant, DR.

FRANCIS KAYIRA, did then and there have come under his care and did attend to and treat the

disabled Plaintiff, MARIO RAMIREZ, while the disabled Plaintiff was a prisoner at Graham

Correctional Center.

       5.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ,

cooperated fully with the Defendant, DR. FRANCIS KAYIRA.

       6.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was in

the exercise of ordinary care and caution for his own safety.

       7.      That it then and there became and was the duty of the Defendant, DR. FRANCIS


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KAYIRA, to render medical care, services and attention consistent with the medical requirements of

the patients and/or prisoners therein, so as not to cause injury to said prisoners therein who are under

its control and dependent upon for care and treatment, including the disabled Plaintiff.

       8.      That there was a duty on the part of the Defendant, DR. FRANCIS KAYIRA, to treat

the disabled Plaintiff, MARIO RAMIREZ, with that degree of knowledge, skill, and care possessed

by a reasonably well-qualified physician in his community or a similar community, and to exercise

that degree of knowledge, skill, and care commonly exercised by other members of his profession.

       9.      That notwithstanding his aforesaid duties, the Defendant, DR. FRANCIS KAYIRA,

was then and there guilty of one or more of the following wrongful acts and/or omissions:

       (a)     Failed to provide proper and adequate medical care and attention to the disabled
               Plaintiff; or

       (b)     Failed to timely provide proper and adequate medical care and attention to the
               disabled Plaintiff; or

       (c)     Failed to intervene on behalf of the disabled Plaintiff to see that proper and adequate
               medical care and attention was being given for the disabled Plaintiff’s medical
               condition and symptoms on and after May 23, 2015, including but not limited to:
               dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (d)     Failed to properly and adequately monitor the disabled Plaintiff’s medical condition
               and symptoms on and after May 23, 2015, including but not limited to: dehydration,
               diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (e)     Failed to properly and adequately alleviate, treat and/or control the disabled
               Plaintiff’s medical condition and symptoms on and after May 23, 2015, including but
               not limited to: dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (f)     Improperly and inadequately treated and/or attended to the disabled Plaintiff’s
               medical condition and symptoms on and after May 23, 2015, including but not
               limited to: dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia; or

       (g)     Failed to diagnose and/or recognize Mr. Ramirez’s hypovolemia due to dehydration
               on and after May 23, 2015; or

       (h)     Failed to timely diagnose and/or recognize Mr. Ramirez’s hypovolemia due to
               dehydration on and after May 23, 2015; or


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       (i)     Improperly and unskillfully treated the disabled Plaintiff in a manner that necessitated
               further treatment, hospitalizations, and surgeries.

       10.     That as a direct and proximate result of one or more of the foregoing wrongful acts

and omissions of the Defendant, DR. FRANCIS KAYIRA, the disabled Plaintiff, MARIO

RAMIREZ, was thereby injured, including but not limited to: sepsis and necrosis leading to anoxic

brain injury and disabled Plaintiff, MARIO RAMIREZ, being in a persistent vegetative state.

       11.     That as a direct and proximate result of one or more of the foregoing wrongful acts

and omissions of the Defendant, DR. FRANCIS KAYIRA, the disabled Plaintiff, MARIO

RAMIREZ, was then and there injured both internally and externally; that he suffered and continues

to suffer from severe and permanent injuries, including but not limited to: permanent brain injury;

that he sustained a severe shock and damage to his nervous system and other systems of his body;

that he suffered and continues to suffer from loss of a normal life; that he suffered and continues to

suffer from acute and prolonged physical and mental pain and suffering; that the risk or harm of

injury, including but not limited to permanent brain damage, was increased; that his medical

condition worsened and his chance of recovery was diminished; that the disabled Plaintiff will suffer

from wage loss and became liable for great sums of money for medical, hospital care and treatment,

and attendant care, as well as incurring other expenses; and that the Plenary Guardian of the

disabled's Estate and Person, JASMINE MURILLO, became liable for great sums of money for

medical, hospital care and treatment, and attendant care, as well as incurring other expenses,

including wage loss.

       12.     That the Plaintiff’s damages are in excess of SEVENTY-FIVE THOUSAND

DOLLARS ($75,000.00).

       WHEREFORE, the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of



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the Estate and Person of MARIO RAMIREZ, disabled, prays judgment against the Defendant, DR.

FRANCIS KAYIRA, for said sum for medical, drug, and incidental expenses and for general

damages according to proof, and for such other and further relief as this court deems just and proper.

                                     COUNT V
Willful and Wanton Claim against Defendants, WEXFORD HEALTH SOURCES, INC., a
corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually,
                  and d/b/a WEXFORD HEALTH SOURCES, INC.

       1.      That during the month of May 2015, and at all times prior and subsequent thereto, the

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

was engaged in offering medical care and attention, facilities and supplies to inmates, including the

disabled Plaintiff herein, at the Graham Correctional Center, in the City of Hillsboro and State of

Illinois, and engaged on its staff various physicians and medical personnel.

       2.      That at all times relevant herein, the Defendants, WEXFORD HEALTH SOURCES,

INC., a corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and

d/b/a WEXFORD HEALTH SOURCES, INC., held itself out, pretended and otherwise informed

Graham Correctional Center’s inmates, and more particularly, in the instance of the disabled

Plaintiff, MARIO RAMIREZ, that Defendants, WEXFORD HEALTH SOURCES, INC., a

corporation; and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a

WEXFORD HEALTH SOURCES, INC., had and possessed the requisite skill, know-how, facilities,

personnel, equipment and information to properly care for and treat the disabled Plaintiff, MARIO

RAMIREZ.

       3.      That in May 2015, and for some time prior and subsequent thereto, the disabled

Plaintiff, MARIO RAMIREZ, was imprisoned at the Graham Correctional Center and was placed

under the custody, ward, care and supervision of the Graham Correctional Center prison and


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Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

and its physicians, staff, supervisors, employees, agents and apparent agents, including but not

limited to, DR. FRANCIS KAYIRA, as aforesaid; that the disabled Plaintiff possessed no medical or

professional medical knowledge, nor did he have the facilities to care for, mend or cure himself.

       4.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was an

inmate and dependent upon and under the control of Graham Correctional Center prison and

Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

and its physicians, staff, supervisors, employees, agents and apparent agents, including but not

limited to, DR. FRANCIS KAYIRA, and that the disabled Plaintiff, as a prisoner, was deprived of

his normal opportunities for protection, treatment and care.

       5.      That at all times mentioned herein, the Defendant, DR. FRANCIS KAYIRA, was a

physician duly licensed under the laws of the State of Illinois and an employee, physician, agent

and/or apparent agent, of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation;

and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., and as such practiced his profession in the medical facilities of the

Graham Correctional Center pursuant to his employment.

       6.      That in May 2015, and for some time prior and subsequent thereto, DR. FRANCIS

KAYIRA, as agent, apparent agent, physician, servant, and/or employee, of the Defendants,

WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC. ,

in his professional capacity as aforesaid, while acting in the scope of his employment and/or agency



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as aforesaid, did then and there have come under their care and did attend to and treat the disabled

Plaintiff, MARIO RAMIREZ, while the disabled Plaintiff was a prisoner at Graham Correctional

Center.

          7.    That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ,

cooperated fully with the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and

THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., and its duly authorized agents, apparent agents, physicians, servants,

and/or employees, including but not limited to, DR. FRANCIS KAYIRA.

          8.    That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was in

the exercise of ordinary care and caution for his own safety and free from willful and wanton

misconduct.

          9.    That at all times material herein, and for some time prior to, the disabled Plaintiff,

MARIO RAMIREZ, was experiencing symptoms and/or signs of hypovolemia, including but not

limited to: dehydration, diarrhea, vomiting, hyponatremia and tachycardia, during his incarceration at

Graham Correctional Center.

          10.   The Defendant knew the disabled Plaintiff was experiencing symptoms and/or signs

of hypovolemia, including but not limited to: dehydration, diarrhea, vomiting, hyponatremia and/or

tachycardia, for at least one (1) week prior to the first May 23, 2015 medical encounter;

          11.   The disabled Plaintiff continued to experienced symptoms and/or signs of

hypovolemia, including but not limited to: dehydration, diarrhea, vomiting, hyponatremia and/or

tachycardia, through June 4, 2015;

          12.   The Defendant knew the disabled Plaintiff was experiencing continued symptoms

and/or signs of hypovolemia, including but not limited to: dehydration, diarrhea, vomiting,



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hyponatremia and/or tachycardia, through June 4, 2015, including but not limited to documenting

these symptoms at his medical encounters on or about May 23, 2015, May 29, 2015, and June 1,

2015, as well as daily through his June 1, 2015 to June 4, 2015 admission to the infirmary at Graham

Correctional Center;

       13.     The Defendant knew or should have known said continuing symptoms and/or signs of

hypovolemia posed serious and/or substantial risks to the health and well-being of the disabled

Plaintiff if not properly treated or if left untreated or undiagnosed, including but not limited to:

necrosis, sepsis, brain injury, and/or death.

       14.     That it then and there became and was the duty of the Defendants, WEXFORD

HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP CORPORATION, a

corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC., by and through its duly

authorized agents, apparent agents, physicians, servants, and/or employees, including but not limited

to, Defendant, DR. FRANCIS KAYIRA, to render medical services consistent with the medical

necessities of the prisoners therein, so as not to cause injury to said prisoners therein who are under

their control and dependent upon for care and treatment, including the disabled Plaintiff, and to

refrain from willful and wanton conduct which would endanger the safety and/or welfare of those

prisoners, including the disabled Plaintiff, under their custody.

       15.     That notwithstanding its aforesaid duty and in conscious disregard and/or utter

indifference to Defendant’s knowledge of said symptoms and serious and substantial risks to the

disabled Plaintiff, the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation; and THE

BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH

SOURCES, INC., by and through its duly authorized agents, apparent agents, physicians, servants,

and/or employees, including but not limited to, Defendant, DR. FRANCIS KAYIRA, was then and



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there guilty of one or more of the following willful and wanton acts and/or omissions:

       (a)     Failed to provide for proper and adequate medical care and treatment of persons in
               their custody, including the disabled Plaintiff, MARIO RAMIREZ, pursuant to 730
               ILCS 3/3-7-2(d), when Defendant knew or should have known said failure displayed
               an utter indifference to the safety and/or welfare of those prisoners, including the
               disabled Plaintiff, under its custody and/or care; or

       (b)     Failed to properly and adequately monitor the disabled Plaintiff’s medical condition
               in utter and/or deliberate indifference of said risks; or

       (c)     Failed to properly and adequately alleviate, treat and/or control the disabled
               Plaintiff’s medical condition and symptoms in utter and/or deliberate indifference of
               said risks; or

       (d)     Improperly and inadequately treated and/or attended to the disabled Plaintiff’s
               medical condition and symptoms in utter and/or deliberate indifference of said risks;
               or

       (e)     Failed to properly and adequately and/or timely diagnose disabled Plaintiff’s
               hypovolemia due to dehydration in utter and/or deliberate indifference of said risks;
               or

       (f)     Discontinued the disabled Plaintiff’s IV fluid administration in spite of continued
               and/or unresolved symptoms and/or signs of hypovolemia in utter and/or deliberate
               indifference of said risks.

       16.     That as a direct and proximate result of one or more of the foregoing willful and

wanton acts or omissions of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation;

and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., by and through its duly authorized agents, apparent agents, physicians,

servants, and/or employees, including but not limited to, Defendant, DR. FRANCIS KAYIRA, the

disabled Plaintiff, MARIO RAMIREZ, was deprived necessary medical treatment and was thereby

injured, including but not limited to: sepsis and necrosis leading to anoxic brain injury and disabled

Plaintiff, MARIO RAMIREZ, being in a persistent vegetative state.

       17.     That as a direct and proximate result of one or more of the foregoing willful and

wanton acts or omissions of the Defendants, WEXFORD HEALTH SOURCES, INC., a corporation;


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and THE BANTRY GROUP CORPORATION, a corporation, individually, and d/b/a WEXFORD

HEALTH SOURCES, INC., by and through its duly authorized agents, apparent agents, physicians,

servants, and/or employees, including but not limited to, Defendant, DR. FRANCIS KAYIRA, the

disabled Plaintiff, MARIO RAMIREZ, was then and there injured both internally and externally; that

he suffered and continues to suffer from severe and permanent injuries, including but not limited to:

permanent brain injury; that he sustained a severe shock and damage to his nervous system and other

systems of his body; that he suffered and continues to suffer from loss of a normal life; that he

suffered and continues to suffer from acute and prolonged physical and mental pain and suffering;

that the risk or harm of injury, including but not limited to permanent brain damage, was increased;

that his medical condition worsened and his chance of recovery was diminished; that the disabled

Plaintiff will suffer from wage loss and became liable for great sums of money for medical, hospital

care and treatment, and attendant care, as well as incurring other expenses; and that the Plenary

Guardian of the disabled's Estate and Person, JASMINE MURILLO, became liable for great sums of

money for medical, hospital care and treatment, and attendant care, as well as incurring other

expenses, including wage loss.

       18.     That the Plaintiff’s damages are in excess of SEVENTY-FIVE THOUSAND

DOLLARS ($75,000.00).

       WHEREFORE, the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of

the Estate and Person of MARIO RAMIREZ, disabled, prays judgment against the Defendants,

WEXFORD HEALTH SOURCES, INC., a corporation; and THE BANTRY GROUP

CORPORATION, a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.,

for said sum for medical, drug, and incidental expenses and for general damages according to proof,

and for such other and further relief as this court deems just and proper.



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                                      COUNT VI
              Willful and Wanton Claim against Defendant, Dr. Francis Kayira

       1.      That at all times mentioned herein, the Defendant, DR. FRANCIS KAYIRA, was a

physician duly licensed under the laws of the State of Illinois, and as such practiced his profession in

the medical facilities of the Graham Correctional Center.

       2.      That in May 2015, and for some time prior and subsequent thereto, the disabled

Plaintiff, MARIO RAMIREZ, was imprisoned at the Graham Correctional Center and was placed

under the custody, ward, care and supervision of the Graham Correctional Center prison and

Defendant, DR. FRANCIS KAYIRA, as aforesaid; that the disabled Plaintiff possessed no medical

or professional medical knowledge, nor did he have the facilities to care for, mend or cure himself.

       3.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was an

inmate and dependent upon and under the control of Graham Correctional Center prison and

Defendant, DR. FRANCIS KAYIRA, and that the disabled Plaintiff, as a prisoner, was deprived of

his normal opportunities for protection, treatment and care.

       4.      That in May 2015, and for some time prior and subsequent thereto, Defendant, DR.

FRANCIS KAYIRA, did then and there have come under his care and did attend to and treat the

disabled Plaintiff, MARIO RAMIREZ, while the disabled Plaintiff was a prisoner at Graham

Correctional Center.

       5.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ,

cooperated fully with the Defendant, DR. FRANCIS KAYIRA.

       6.      That at all times material herein, the disabled Plaintiff, MARIO RAMIREZ, was in

the exercise of ordinary care and caution for his own safety and free from willful and wanton

misconduct.

       7.      That at all times material herein, and for some time prior to, the disabled Plaintiff,


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MARIO RAMIREZ, was experiencing symptoms and/or signs of hypovolemia, including but not

limited to: dehydration, diarrhea, vomiting, hyponatremia and tachycardia, during his incarceration at

Graham Correctional Center.

       8.      The Defendant, DR. FRANCIS KAYIRA, knew the disabled Plaintiff was

experiencing symptoms and/or signs of hypovolemia, including but not limited to: dehydration,

diarrhea, vomiting, hyponatremia and/or tachycardia, for at least one (1) week prior to the first May

23, 2015 medical encounter;

       9.      The disabled Plaintiff continued to experienced symptoms and/or signs of

hypovolemia, including but not limited to: dehydration, diarrhea, vomiting, hyponatremia and/or

tachycardia, through June 4, 2015;

       10.     The Defendant, DR. FRANCIS KAYIRA, knew the disabled Plaintiff was

experiencing continued symptoms and/or signs of hypovolemia, including but not limited to:

dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia, through June 4, 2015, including

but not limited to documenting these symptoms at his medical encounters on or about May 23, 2015,

May 29, 2015, and June 1, 2015, as well as daily through his June 1, 2015 to June 4, 2015 admission

to the infirmary at Graham Correctional Center;

       11.     The Defendant, DR. FRANCIS KAYIRA, knew or should have known said

continuing symptoms and/or signs of hypovolemia posed serious and/or substantial risks to the

health and well-being of the disabled Plaintiff if not properly treated or if left untreated or

undiagnosed, including but not limited to: necrosis, sepsis, brain injury, and/or death.

       12.     That it then and there became and was the duty of the Defendant, DR. FRANCIS

KAYIRA, to render medical services consistent with the medical necessities of the prisoners therein,

so as not to cause injury to said prisoners therein who are under their control and dependent upon for



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care and treatment, including the disabled Plaintiff, and to refrain from willful and wanton conduct

which would endanger the safety and/or welfare of those prisoners, including the disabled Plaintiff,

under their custody.

       13.     That notwithstanding his aforesaid duty and in conscious disregard and/or utter

indifference to Defendant’s knowledge of said symptoms and serious and substantial risks to the

disabled Plaintiff, the Defendant, DR. FRANCIS KAYIRA, was then and there guilty of one or more

of the following willful and wanton acts and/or omissions:

       (a)     Failed to properly and adequately monitor the disabled Plaintiff’s medical condition
               in utter and/or deliberate indifference of said risks; or

       (b)     Failed to properly and adequately alleviate, treat and/or control the disabled
               Plaintiff’s medical condition and symptoms in utter and/or deliberate indifference of
               said risks; or

       (c)     Improperly and inadequately treated and/or attended to the disabled Plaintiff’s
               medical condition and symptoms in utter and/or deliberate indifference of said risks;
               or

       (d)     Failed to properly and adequately and/or timely diagnose disabled Plaintiff’s
               hypovolemia due to dehydration in utter and/or deliberate indifference of said risks;
               or

       (e)     Discontinued the disabled Plaintiff’s IV fluid administration in spite of continued
               and/or unresolved symptoms and/or signs of hypovolemia in utter and/or deliberate
               indifference of said risks.

       14.     That as a direct and proximate result of one or more of the foregoing willful and

wanton acts or omissions of the Defendant, DR. FRANCIS KAYIRA, the disabled Plaintiff, MARIO

RAMIREZ, was deprived necessary medical treatment and was thereby injured, including but not

limited to: sepsis and necrosis leading to anoxic brain injury and disabled Plaintiff, MARIO

RAMIREZ, being in a persistent vegetative state.

       15.     That as a direct and proximate result of one or more of the foregoing willful and

wanton acts or omissions of the Defendant, DR. FRANCIS KAYIRA, the disabled Plaintiff, MARIO


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RAMIREZ, was then and there injured both internally and externally; that he suffered and continues

to suffer from severe and permanent injuries, including but not limited to: permanent brain injury;

that he sustained a severe shock and damage to his nervous system and other systems of his body;

that he suffered and continues to suffer from loss of a normal life; that he suffered and continues to

suffer from acute and prolonged physical and mental pain and suffering; that the risk or harm of

injury, including but not limited to permanent brain damage, was increased; that his medical

condition worsened and his chance of recovery was diminished; that the disabled Plaintiff will suffer

from wage loss and became liable for great sums of money for medical, hospital care and treatment,

and attendant care, as well as incurring other expenses; and that the Plenary Guardian of the

disabled's Estate and Person, JASMINE MURILLO, became liable for great sums of money for

medical, hospital care and treatment, and attendant care, as well as incurring other expenses,

including wage loss.

       16.     That the Plaintiff’s damages are in excess of SEVENTY-FIVE THOUSAND

DOLLARS ($75,000.00).

       WHEREFORE, the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of

the Estate and Person of MARIO RAMIREZ, disabled, prays judgment against the Defendant, DR.

FRANCIS KAYIRA, for said sum for medical, drug, and incidental expenses and for general

damages according to proof, and for such other and further relief as this court deems just and proper.

                                           COUNT VII

       1-96. Plaintiff JASMINE MURILLO, restates and realleges paragraphs one (1) through

twenty-four (24) inclusive of Count I hereof, restates and realleges paragraphs one (1) through twelve

(12) inclusive of Count II hereof, restates and realleges paragraphs one (1) through fourteen (14)

inclusive of Count III hereof, restates and realleges paragraphs one (1) through twelve (12) inclusive



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of Count IV hereof, restates and realleges paragraphs one (1) through eighteen (18) inclusive of

Count V hereof, restates and realleges paragraphs one (1) through sixteen (16) inclusive of Count VI

hereof, as and for paragraphs one (1) through ninety-six (96) of this Count VII, as though specifically

realleged herein and hereby incorporates the same by this reference

       97.     That at all times relevant and subsequent thereto, the Plaintiff, JASMINE MURILLO,

as Plenary Guardian of the Estate and Person of MARIO RAMIREZ, disabled, did then and there

become liable for large sums of money for the medical costs of the disabled Plaintiff, MARIO

RAMIREZ, pursuant to the Family Expense Act, 750 ILCS 65/15.

       98.     That the Plaintiff’s damages are in excess of SEVENTY-FIVE THOUSAND

DOLLARS ($75,000.00).

       WHEREFORE, the Plaintiff, JASMINE MURILLO, individually and as Plenary Guardian of

the Estate and Person of MARIO RAMIREZ, disabled, prays judgment against Defendants,

WEXFORD HEALTH SOURCES, INC., a corporation; THE BANTRY GROUP CORPORATION,

a corporation, individually, and d/b/a WEXFORD HEALTH SOURCES, INC.; and DR. FRANCIS

KAYIRA, and each of them, for medical costs according to proof and for such other and further

relief as this Court deems just and proper.

                                                       Plaintiff, JASMINE MURILLO, individually
                                                       and as Plenary Guardian of the Estate and
                                                       Person of MARIO RAMIREZ, disabled

                                                       By: /s/ Cindy G. Fluxgold________
                                                       One of Plaintiff's Attorneys

GOLDSTEIN, FLUXGOLD & BARON, P.C.
33 North Dearborn Street, Suite 950
Chicago, IL 60602
(312) 726-7772
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                      ATTACHMENT PURSUANT TO SECTION 2-622
                         OF THE CODE OF CIVIL PROCEDURE

        1.     I am a physician licensed to practice medicine. I am knowledgeable in the relevant
issues involved in this particular action. I practice or have practiced within the last (6) years in the
same areas of health care or medicine that are at issue in this particular action. I am qualified by
experience and have demonstrated competence in the subject areas of this case.

     2.     I have reviewed the records pertinent to the care and treatment rendered to MARIO
RAMIREZ, disabled, at Graham Correctional Center, Hillsboro Hospital and St. John’s Hospital.

        3.      Following and based upon my review of the aforementioned records and reports
pertinent to the care received by Mario Ramirez at Graham Correctional Center, with specific focus
and concentration on the events, treatment, infirmary admissions and visits subsequent to Mario
Ramirez’ May 23, 2015 presentation to the infirmary at Graham Correctional Center up to and
including his transfers to Hillsboro Hospital and St. John’s Hospital on or about June 4, 2015, I am
of the opinion that there is a reasonable and meritorious basis for the filing of a cause of action in
this case against Dr. Francis Kayira, Wexford Health Sources/Bantry Group Corporation and the
respective physician groups of the aforementioned physician, if any.

        4.        Based upon my review of the pertinent records, on May 23, 2015, Mario Ramirez
presented to the infirmary at Graham Correctional Center complaining of a one week history of
diarrhea, vomiting, fever and chills. He was encouraged to increase his oral fluid. Dr. Kayira was
informed of the visit and Mr. Ramirez’s vitals
        On May 29, 2015, Mr. Ramirez returned to the infirmary at Graham Correctional Center with
unimproved symptoms. Laboratory tests were taken and Dr. Kayira was informed of Mr. Ramirez;’s
vitals and laboratory results. Imodium was prescribed and follow-up was scheduled for June 2, 2015
with Dr. Kayira.
        On June 1, 2015, Mr. Ramirez returned to the infirmary with continued persistent diarrhea
and was examined by Dr. Kayira. Mr. Ramirez presented clammy, afebrile, weak and shaky with a
pulse of 111. Mr. Ramirez was admitted to the infirmary with suspected dehydration and possible
Cushing’s syndrome. IV fluids were prescribed and administered.
        On June 2, 2015, Mr. Ramirez remained on IV fluids and diarrhea continued. Mr. Ramirez
was examined by Dr. Kayira.
        On June 4, 2015, at approximately 9:30 a.m., Mr. Ramirez was still experiencing diarrhea but
frequency had slowed. Dr. Kayira discontinued the IV fluids and diet was advanced.
        On June 4, 2015, at approximately 1:15 p.m., Mr. Ramirez complained of difficulty breathing
to the infirmary nurses and subsequently became unresponsive, pulseless and apneic. Pulse was
restored and Mr. Ramirez was transferred via ambulance to Hillsboro hospital.
        On June 4, 2015, upon ER presentation at Hillsboro hospital, Mr. Ramirez was in respiratory
failure and was intubated.
        On June 4, 2015, he was then transferred to St. John’s hospital where he was hypotensive and
acidotic. X-ray revealed free air and a total abdominal colectomy was performed. Pathology
revealed multiple colonic mucosal ulcerations with areas of transmural necrosis, as well as
perforations and acute serositis due to necrotic bowel. He remained in a comatose condition during
his stay at St. John’s hospital. He underwent multiple procedures at St. John’s hospital as a result of
his condition.

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       On August 5, 2015, he was discharged from St. John’s hospital in a persistent vegetative state
secondary to anoxic brain injury.

        5.     Based on my experience, education, training and knowledge, and review of the
pertinent records, I am of the opinion that during and after Mario Ramirez’s infirmary visit on or
about May 23, 2015, the Standard of Care required: Dr. Francis Kayira; Wexford Health
Sources/Bantry Group Corporation, by and through its agents, employees, apparent agents, and/or
physicians, including but not limited to: Dr. Kayira; and the physician groups of Dr. Kayira, if any,
to: provide proper and adequate and/or timely medical care and attention to Mr. Ramirez; diagnose
and/or recognize and/or timely diagnose and/or recognize Mr. Ramirez’s hypovolemia due to
dehydration on and after May 23, 2015; ensure and/or intervene to ensure that proper and adequate
and/or timely medical care and attention was provided to Mr. Ramirez; properly and adequately
monitor the disabled Plaintiff’s medical condition and symptoms on and after May 23, 2015,
including but not limited to: dehydration, diarrhea, vomiting, hyponatremia and/or tachycardia; and
properly and adequately alleviate, treat and/or control the disabled Plaintiff’s medical condition and
symptoms on and after May 23, 2015, including but not limited to: dehydration, diarrhea, vomiting,
hyponatremia and/or tachycardia.

        6.      Based on my experience, education, training and knowledge, and review of the
pertinent records listed above, I am of the opinion that Dr. Francis Kayira deviated from the
aforementioned applicable Standard of Care when Dr. Francis Kayira: failed to provide proper and
adequate and/or timely medical care and attention to Mr. Ramirez; failed to diagnose and/or
recognize and/or timely diagnose and/or recognize Mr. Ramirez’s hypovolemia due to dehydration
on and after May 23, 2015; failed to ensure that proper and adequate and/or timely medical care and
attention was provided to Mr. Ramirez; failed properly and adequately monitor the disabled
Plaintiff’s medical condition and symptoms on and after May 23, 2015; or failed to alleviate, treat
and/or control the disabled Plaintiff’s medical condition and symptoms on and after May 23, 2015.

        7.     Based on my experience, education, training and knowledge, and review of the
pertinent records listed above, I am of the opinion that Dr. Francis Kayira deviated from the
aforementioned applicable Standard of Care when Dr. Francis Kayira: provided improper and
adequate medical care and attention to Mr. Ramirez; improperly diagnosed Mr. Ramirez’s medical
condition and symptoms on and after May 23, 2015; improperly and inadequately monitored the
disabled Plaintiff’s medical condition and symptoms on and after May 23, 2015; or improperly and
inadequately treated and/or attended to the disabled Plaintiff’s medical condition and symptoms on
and after May 23, 2015.

        8.      Based on my experience, education, training and knowledge, and review of the
pertinent records listed above, and presuming that an institution and/or entity such as Wexford
Health Sources/Bantry Group Corporation is under the same legal obligation to comply with the
applicable standard of care as its agent, apparent agent and/or employee, Dr. Francis Kayira, I am of
the opinion that Wexford Health Sources/Bantry Group Corporation deviated the aforementioned
applicable Standard of Care by failing to intervene on behalf of the disabled Plaintiff, Mario
Ramirez, to see that proper and adequate medical care and attention was given to Mario Ramirez by
its duly authorized agents, employees, apparent agents, and/or physicians, including but not limited
to Dr. Francis Kayira. In addition, Wexford Health Sources/Bantry Group Corporation, by and
through its duly authorized agents, employees, apparent agents, and/or physicians, including but not

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limited to Dr. Francis Kayira, deviated from the aforementioned applicable Standard of Care by:
failing to provide proper and adequate and/or timely medical care and attention to Mr. Ramirez;
failing to diagnose and/or recognize and/or timely diagnose and/or recognize Mr. Ramirez’s
hypovolemia due to dehydration on and after May 23, 2015; failing properly and adequately monitor
the disabled Plaintiff’s medical condition and symptoms on and after May 23, 2015; or failing to
alleviate, treat and/or control the disabled Plaintiff’s medical condition and symptoms on and after
May 23, 2015.

       9.      Based on my experience, education, training and knowledge, and review of the
pertinent records listed above, and presuming that an institution and/or entity such as Wexford
Health Sources/Bantry Group Corporation is under the same legal obligation to comply with the
applicable standard of care as its agent, apparent agent and/or employee, Dr. Francis Kayira, I am of
the opinion that Wexford Health Sources/Bantry Group Corporation by and through its duly
authorized agents, employees, apparent agents, and/or physicians, including but not limited to Dr.
Francis Kayira, deviated from the aforementioned applicable Standard of Care by: providing
improper and adequate medical care and attention to Mr. Ramirez; improperly diagnosing Mr.
Ramirez’s medical condition and symptoms on and after May 23, 2015; improperly and inadequately
monitoring the disabled Plaintiff’s medical condition and symptoms on and after May 23, 2015; or
improperly and inadequately treating and/or attending to the disabled Plaintiff’s medical condition
and symptoms on and after May 23, 2015.

        10.    In my opinion, said failures and/or deviations, independently and/or in combination,
caused or contributed to cause severe injuries, including but not limited: a loss of chance of survival
and/or recovery from Mr. Ramirez’s underlying hypovolemia, and a worsening of Mr. Ramirez’s
underlying hypovolemia causing sepsis and necrosis leading to permanent anoxic brain injury.




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Order Appointing Plenary Guardian of Disabled Person                                                           (02/09/15) CCP N204 A

                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                  COUNTY DEPARTMENT, PROBATE DIVISION

Estate of

                                                                              No.      17 P
MARlO RAMIREZ,
                                              A Disabled Person


                          ORDER APPOINTING PLENARY GUARDIAN OF DISABLED PERSON
    On the Petition of      Jasmine Murillo
                            ~==~~~~~--~~~----~~-=~~--
                                                                                                   _ _ _ _ _ _ for the appointment of
                                                           (printedname ofthe Petitioner)

Jasmine Murillo                                                               as Guardian of the OestateOperson k8Jestate and person of
                 (printed name of the proposed Guardian)

_---.:.:M~ar_i--=.o--=.R:..::.am:...,__;:-.:ir--=.e--=.z__________,,-,-..,......,--...,..,.-=--~,.....-,---------- (the "Respondent"),
                                                           (printedname of the Respondent)
*and the nominated Guardian being a nonresident of Illinois and having complied with §1-11 of the Probate Act of 1975 (755
lLCS 5/1-11) by filing with the Court a Designation of Resident Agent to accept service of process, notice or demand required
or permitted by law to be served upon the Guardian; and the Court having found that:
  **1.     The Court has jurisdiction to appoint a Guardian under §§203-204 of the Uniform Adult Guardianship and Protective
           Proceedings Jurisdiction Act ("UAGPPJA") (775 lLCS 8/203-204) because:
            ~(a) Illinois is the Respondent's "home state" as defined in §201(a)(2) of the UAGPPJA;
          D .(b)                                   the Respondent's "home state", but Illinois is a "significant-connection state" as
                     defined in §201(a)(3) of the UAGPPJA, and one of the additional requirements specified in §203(2)(A)- (B) of
                     the UAGPPJA "nplies;
          0      (c) Illinois is not tu .... Respondent's "home state" or a ;;igni:ficant-connection state" as defined in §201(a)(2)- (3)
                     of the UAGPPJA, but the "home state" and every "significant-connection state" have declined to exercise
                     jurisdiction because Illinois is the most appropriate forum;
          0      (d) Illinois is not the Respondent's "home state" or "significant-connection state" as defined in §201(a)(2)- (3) of
                     the UAGPPJA, but the circumstances involved constitute an "emergency" as· defined in §20l(a)(l) of the
                     UAGPPJA, and as a result, this Court has "spe~ial jurisdiction" under §204(a) of the UAGPPJA.
    2.     In accordance with § 11 a-3 of the Probate Act, by clear and convincing evidence the Respondent is a disabled person '
           and:
             ***(a) totally lacks sufficient understanding or capacity to make or communicate responsible decisions concerning the
                    care of his or her person;
              ***(b) is totally unable to manage his or her estate or :financial affairs;
     3. .J4mited guardianship will ~t provide sufficient protection foh
        U the disabled person ORU the disabled person's estate OR l2SJthe disabled person, and the disabled person's estate;
     .A     The appointment of a Guardian ad litem was not necessary for the protection of the disabled person or a reasonably
            informed decision on the Petition;
            NO suitable and willing persorr ether than 1::l:'le et• G ~:ttudian could be found to accept thegu.ardianship aJ3pointment;
          ;trike if the nominated Limited Guardian is a·l'esident of Illinois.
          Check the approp1·iate basis for jurisdiction.
          •* Strike if not applicable.




          DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, II
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